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                          UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
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11   TERRI L. DAVIS,                                    Case No. 1:19-cv-00885-LJO-SAB

12                   Plaintiff,                         ORDER REQUIRING PLAINTIFF TO FILE
                                                        DISPOSITIONAL DOCUMENTS
13           v.
                                                        (ECF No. 8)
14   ARS NATIONAL SERVICES, INC.,
                                                        SIXTY DAY DEADLINE
15                   Defendant.

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17          On August 9, 2019, Plaintiff Terri L. Davis filed a notice of settlement informing the

18 Court that the parties have reached settlement resolving this action.

19          Accordingly, it is HEREBY ORDERED that:

20          1.      All pending matters and dates are VACATED; and

21          2.      Plaintiff shall file dispositional documents within sixty (60) days of the date of

22                  entry of this order.

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     IT IS SO ORDERED.
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25 Dated:        August 12, 2019
                                                        UNITED STATES MAGISTRATE JUDGE
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